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HID 440 (Rev. 12/09) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                            for the
                                                       District of Hawaii

                         ROBIN HALL
                                                              )
                                                              )
                             P laintiff
                                                              )
                     v.                                       )       Civil Action No. 1 :21-cv-00248 LEK-KJM
CITY AND COUNTY OF HONOLULU;                                  )
CHRISTOPHER KOANUI; LEONARD LETOTO;                           )
DEBRA MAIOHO-POHINA; DOE OFFICER I ; DOE                      )
OFFICER 2; and DOE OFFICER 3
                            Defendant            SUMMONS IN A CIVIL ACTION

To: (Defendant 's name and address) C ITY AND COUNTY OF HONOLULU; DOE OFFICER1; DOE OFFICER2; and
                                    DOE OFFICER 3
                                    c/o CORPORATIONCOUNSEL
                                    530 SOUTH KING STREET#110
                                    HONOLULU, HAWAII 96813



          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it)-or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) - you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attorney,
whose name and address are: JONGWOOK "WOOKIE" KIM # 11020
                                 P.O. BOX 3410
                                 HONOLULU , HAWAII 96801




       If you fai l to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

                                                                         MICHELLE RYNNE
                                                                         CLERK OF COURT


Date:    June 9 , 2021                                                  ISi MICHELLE RYNNE, by: J.I., Deputy Clerk
                                                                                  Signature of Clerk or Deputy Clerk
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 Civil Action No. 1:21-cv-00248 LEK-KJM

                                                       PROOF OF SERVICE
                       (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)

           0 I personally served the summons on the individual at (place)
                                                                                   on (date)                         ; or

           0 I left the summons at the individual's residence or usual place of abode with (name)
                                                               , a person of suitable age and discretion who resides there,
         - - - - - - - - - - - - - - - -


           on (date)                               ' and mailed a copy to the individual's last known address; or

           0 I served the summons on (name of individual)                                                                     , who is
           designated by law to accept service of process on behalf of (name of organization)
                                                                                   on (date)                         ; or

           0 I returned the summons unexecuted because                                                                             ; or

           0 Other (specify):




           My fees are$                            for travel and $                 for services, for a total of $          0.00


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                         Server’s signature



                                                                                       Printed name and title




                                                                                          Server’s address

 Additional information regarding attempted service, etc:
